Case 15-04093-jw               Doc 38         Filed 01/11/16 Entered 01/11/16 17:57:30                                   Desc Main
                                              Document      Page 1 of 3




  B2100A (Form 2100A) (12/15)


                            United States Bankruptcy Court
                            _______________ District Of _______________
                                                        South Carolina

  In re ______________________________,
        Maxine Bradley                                                       15-04093-jw
                                                                   Case No. ________________



                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
  Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
  transfer, other than for security, of the claim referenced in this evidence and notice.


   Carrington Mortgage Services, LLC
   (servicing rights only)
  ______________________________________                                      CitiMortgage, Inc.
                                                                              ____________________________________
             Name of Transferee                                                           Name of Transferor

  Name and Address where notices to transferee                                 Court Claim # (if known): 3-1
  should be sent:                                                              Amount of Claim: 46,931.68
  Carrington Mortgage Services, LLC                                            Date Claim Filed: September 25, 2015
  1600 South Douglass Road
  Anaheim, CA 92806

  Phone: ______________________________
          800-561-4567                                                        Phone: __________________________
                                                                                      (866) 613-5636
  Last Four Digits of Acct #: ______________
                              9659                                            Last Four Digits of Acct. #: __________
                                                                                                           1234

  Name and Address where transferee payments
  should be sent (if different from above):
  Carrington Mortgage Services, LLC
  P.O. Box 3730
  Anaheim, CA 92806
  Phone: _______________________________
          800-561-4567
  Last Four Digits of Acct #: _______________
                              9659




  I declare under penalty of perjury that the information provided in this notice is true and correct to the
  best of my knowledge and belief.

  By:__________________________________                                              January 7, 2016
                                                                               Date:____________________________
         Transferee/Transferee’s Agent


  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 15-04093-jw           Doc 38    Filed 01/11/16 Entered 01/11/16 17:57:30                 Desc Main
                                     Document      Page 2 of 3


                                         PROOF OF SERVICE

                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:


                 I, Ricardo Soria                            , certify that I am a resident of the County

aforesaid; I am over the age of 18 years and not a party to the within action; my business address is

20750 Ventura Boulevard, Suite 100, Woodland Hills, California 91364.

                 1/11/2016
           On __________________________,         I served the within Transfer of Claim Other Than for
Security and Notice of Transfer of Claim Other Than for Security on all interested parties in this
proceeding by placing true and correct copy thereof enclosed in a sealed envelope with postage prepaid
in the United States Mail at Woodland Hills, California, addressed as follows:




Maxine Bradley
68 William Cooper Drive
Kingstree, SC 29556
Debtor

William Joseph Barr, Esquire
108 North Academy Street
Kingstree, SC 29556
Attorney for Debtor

Pamela Simmons-Beasley
1813 Laurel Street
Columbia, SC 29201
Chapter 13 Trustee




                 I declare that I am employed in the office of a member of the Bar at whose direction

this service was made.

                 I certify under penalty of perjury that the foregoing is true and correct.

                  Executed on 1/11/2016                                at Woodland Hills, California.



                                                                   /s/Ricardo Soria
Case 15-04093-jw           Doc 38   Filed 01/11/16 Entered 01/11/16 17:57:30                   Desc Main
                                    Document      Page 3 of 3




  B2100B (Form 2100B) (12/15)

                        United States Bankruptcy Court
                        _______________ District Of _______________
                                                    South Carolina


         Maxine Bradley
  In re ______________________________,                     15-04093-jw
                                                  Case No. ________________




       NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
  Claim No. _____
              3-1    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
  alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
  Other than for Security in the clerk’s office of this court on ______ (date).



  Name of Alleged Transferor                                          Name of Transferee
   CitiMortgage, Inc.                                                 Carrington Mortgage Services, LLC
                                                                      (servicing rights only)


  Address of Alleged Transferor:                                      Address of Transferee:
   CitiMortgage, Inc.                                                  Carrington Mortgage Services, LLC
   PO Box 6030                                                         1600 South Douglass Road
   Sioux Falls, SD 57117                                               Anaheim, CA 92806


                                ~~DEADLINE TO OBJECT TO TRANSFER~~
  The alleged transferor of the claim is hereby notified that objections must be filed with the court
  within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
  court, the transferee will be substituted as the original claimant without further order of the court.




  Date:_________                                                ______________________________
                                                                  CLERK OF THE COURT
